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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


 ------------------------------------X
 BABY DOE, A CITIZEN OF AFGHANISTAN     :
 CURRENTLY RESIDING IN NORTH            :
 CAROLINA, BY AND THROUGH NEXT          :                 CIVIL ACTION NO. 3:22-CV-49
 FRIENDS, JOHN AND JANE DOE;AND JOHN :
 AND JANE DOE, CITIZENS OF AFGHANISTAN :
 AND LEGAL GUARDIANS OF BABY DOE,       :
                                        :
      Plaintiffs,                       :
                                        :
 v.                                     :
                                        :
 JOSHUA MAST, STEPHANIE MAST, RICHARD :
 MAST, KIMBERLEY MOTLEY, AND AHMAD :
 OSMANI,                                :
                                        :
      Defendants,                    :
                                      :
 and                                  :
                                      :
 UNITED STATES SECRETARY OF STATE    :
 ANTONY BLINKEN AND UNITED STATES :
 SECRETARY OF DEFENSE GENERAL         :
 LLOYD AUSTIN,                       :
                                     :
      Nominal Defendants.            :

 ------------------------------------X


     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL
              EXHIBIT 1 TO PLAINTIFFS’ OPPOSITION TO
                 DEFENDANTS’ MOTIONS TO DIMISS

        Pursuant to Local Civil Rule 9 and this Court’s Protective Order (ECF NO. 26), Plaintiffs

 seek to file Exhibit 1 to Plaintiffs’ Opposition to Defendants’ Motions to Dismiss under permanent

 seal to protect the safety of Plaintiffs and other innocent non-parties. Exhibit 1 to Plaintiffs’

 Opposition to Defendants’ Motions to Dismiss contains information that posses threats to
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 Plaintiffs’ safety and the safety of other non-parties, as recognized by the Court’s Protective Order

 (ECF No. 26). In addition, Exhibit 1 to Plaintiffs’ Opposition to Defendants’ Motions to Dismiss

 is a document subject to a sealing order issued by the Circuit Court of the County of Fluvanna. See

 ECF No. 73, Exh. B.

         Under the common law right of access to judicial records, documents should be sealed

 when a party’s interest in keeping the information contained therein confidential outweighs the

 presumed right of public access. See, e.g. Stone v. Univ. of Maryland Med. Sys. Corp., 855 F.2d

 178 (4th Cir. 1988); Ashcroft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000). “Courts have

 recognized that an interest in protecting the physical and psychological well-being of individuals

 related to the litigation, including family members and particularly minors, may justify restricting

 access” to court documents. United States v. Harris, 890 F.3d 480, 492 (4th Cir. 2018); see also

 United States v. Doe, 962 F.3d 139, 147 (4th Cir. 2020).

         In this instance, the threats to the safety of the Plaintiffs and other innocent non-parties are

 very real, and have been recognized by this Court’s Protective Order (ECF No. 26). Plaintiffs have

 publicly filed their Opposition to Defendants’ Motions to Dismiss. Thus, the public is not wholly

 deprived of an understanding of the general underlying factual basis for the request. The relief

 Plaintiffs seek in this motion is narrowly tailored to the circumstances, and aims to seal only what

 is absolutely necessary to safeguard the safety of persons related to the litigation. Defendants are

 not prejudiced as they are aware of Plaintiffs’ identities and are parties to the sealed proceeding.

         Accordingly, Plaintiffs request that Exhibit 1 to Plaintiffs’ Opposition to Defendants’

 Motions to Dismiss be filed under permanent seal, as the risks attendant to public disclosure of

 these is not likely to dissipate over time.
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 Dated: November 28, 2022     Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 28th day of November 2022, I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

  to all CM/ECF participants.




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